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                              UN ITED STA TES DIST RICT C O U RT
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                                 C A SE N O .:23-C R-80101-A M C


   UN ITED STA TES O F A M ERICA,
                                                                    kV .
                 Plaintiff,                                           (.
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   D ON ALD J.TRU M P,W A LTIN E N A UTA,                                       S. -îE)-J,FIOF
                                                                                            R t.)F;,t)lS1'.(;T'
   and CA RLO S D E O LIV EIRA ,                                                                r'l.A.-h.1!Ah/.
                                                                                                              i

                 Defendants.


     M O TIO N O F T H E K N IG H T FIRST A M EN D M ENT IN STITUT E AT C O LU M BIA
  UN IV E RSITY TO INTER V ENE TO SEEK R ESCISSIO N O F TH E CO UR T'S JAN U AR Y
       21,2025 O RD ER AN D PU BLIC RE LEA SE O F V O LU M E 11O F TH E SPEC IA L
                                    C O UN SEL'S REPO RT

         The KnightFirstAmendment Institute atColumbia University (ttKnightlnstitute''or
  ûûlnstitute'')isa non-partisan,not-for-profitorganization thatworksto defend the freedomsof
  speech and the press in the digitalage through strategic litigation,research,policy analysis,and

  public education. Pursuant to Local Rules 7.1 and 88.9, the Institute respectfully m oves to

  interveneinthiscasetoseek(1)rescissionoftheCourt'sJanuary21,2025Orderenjoiningrelease
  ofVolume11oftheSpecialCounsel'sReport(iklanuary 21Order'');and(2)publicreleaseofthe
  redacted version of V olum e 11thatDO J subm itted to the Courtin advance of a hearing held on

  January 17, 2025.1

         The K nightInstitute has standing to intervene to seek rescission ofthe January 21 O rder

  becausetheCourt'sinjunctionbaning thereleaseofVolume11directly implicatesthelnstitute's


  1The Institute doesnotoppose the Courtm aking additionalredactions ifthe redactions satisfy
  the requirem ents ofthe FirstA m endm ent,asdescribed below .

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  federalrightsundertheFreedom oflnformationAct(ûûFOlA''),5U.S.C.j552,etseq.Specifically,
  the Institutesubmitted aFOIA requesttothe DepartmentofJustice(ûkDOJ'')seekingtherelease
  ofVolumell,andDOJhascitedthisCourt'sJanuary21Order,andtheinjunction itimposeson
  the public release ofV olum e lI,asgroundsfor denying the Institute's request.The lnstitute asks

  thatthe Courtrescind itsJanuary 21 Orderbecause itpreventsthe Institute from pursuing itsrights

  underFOIA,andbecausethereisno longeranylegitimatereasonto enjointhereport'srelease.
  TheCourtwillrecallthatitenjoinedreleaseofthereporttoprotectDefendants'dueprocessand
  fairtrialrights.SincetheCourtissueditsinjunction,however,thechargesagainstDefendantshave
  been dismissedwithprejudice.Accordingly,thereisnolongeranyjustificationfortheinjunction,
  and itno longerreflects a necessary orappropriate exercise ofthe Court's supervisory authority.

  TheCourtshouldlifttheinjunctionimmediately.
         The Knight Institute also has standing to intervene to assert com m on law and First

  Am endm entrightsofaccessto theredacted version ofVolume 11subm itted to theCourtby DOJ

  inadvanceoftheJanuary l7,2025hearing.Volume11isaûjudicialrecord''subjecttoacommon
  law rightofaccessbecause itw assubm itted in connection w ith a m otion thatinvoked the Court's

  powers and w as reviewed and considered by the Courtin ruling on the m otion.The com m on law

  rightthatattachestothisjudicialrecordisnotovercomebygoodcause.lndeed,a11ofthefactors
  thatcourtsin this Circuitconsider in assessing w hethergood cause exists in thiscontextw eigh in

  favorofupholding the accessright.

         Volume11isalsosubjecttoaqualifiedrightofaccessundertheFirstAmendment,because
  itisajudicialdocumentinextricably intertwined with aproceeding thatisitselfsubjectto the
  constitutionalaccess right,and because itisthe type ofdocum entw hose disclosure prom otes the

  properfunctioningofthatproceedingandallowsthepublictoknow thatjusticeisbeingdone.The



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   qualitied constitutional access right can be lim ited only to the extent essential to protect a

   com pelling govem m ent interest,and even then,any lim itation m ustbe narrow ly tailored to that

   interest.V olum e 11m ustbe released because its suppression is no longer needed to protectany

   govem m entalinterestand isnotnarrow ly tailored.M oreover,releaseofthe docum entwould serve

   an .im portant societal interest by infonning the public about the character and actions of the

   nation's highestofficial,about one of the m ostsigniticant crim inal investigations in A m erican

   history,and aboutD O J's understanding of the Espionage A ct,a statute w ith broad im plications

   for free speech.For al1 of these reasons,and the further reasons discussed below ,the K night

   Institute respectfully requests thatthe Courtrescind its January 2l O rder and directthe clerk to

   file on thepublicdocketthe redacted version ofVolum e11thatDOJsubm itted to theCourt.z

                                    M EM O M N D UM O F LA W

   1.     Background

                 A.      The SpecialC ounsel's Investigation,C harges,and Report

          The FBI opened a crim inal investigation on M arch 30,2022 into then-fonner President

   Donald J.Trum p's retention ofclassified docum ents atthe M ar-a-l-ago Club,and a federalgrand

  jury was convened shortly thereafter.On November l8,2022,Attorney GeneralMenick B.
   Garland appointed Jack Sm ith as SpecialCounselto oversee the ongoing DOJ investigations into

   PresidentTrum p's role in the January 6,2021 attack on the United States Capitolas wellas his

   alleged unlawfulretention ofclassified govem m entrecords.




  2Some(butnotall)ofthereliefsoughtbytheKnightlnstituteherewasalsosoughtby American
  O versight in a m otion filed on February 14,2025.ECF N o.717.The Courtissued an order on
  February 18,2025 denying Am erican Oversight's requestforem ergency reliefbutstating thatit
  w ould ûtaw aitbriefing ...in the norm alcourse,according to the standard deadlines setforth in
  LocalRules 88.9 and 7.l.''ECF N o.718.


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         On June 8,2023,the SpecialCounselfiled an indictm entcharging PresidentTrum p w ith

  thirty-seven felony charges,including thirty-one violationsofthe Espionage A ct.ECF N o.3.The

  indictm ent alleged that,upon leaving the W hite House on January 20,2021,President Trum p

  instructed aides to transportboxes containing classitied docum ents- including highly sensitive

  m ilitary and intelligence secrets to M ar-a-Lago; that Trum p stored these boxes in various

  locationsatthe Club thatwere potentially accessible to thousands ofm em bers and guests;thathe

  showed classified docum entsto non-security-cleared m em bersofhisClub staffand others;thathe

  failed to return classitied docum ents to the governm entafterhaving been served w ith a subpoena

  requiring their im m ediate retum ;and thathe m ade false statem ents and conspired w ith others to

  itobstructtheFB1and grandjuryinvestigationsand concealhiscontinued retention ofclassified
  docum ents.''Id at2-3.The June 2023 indictm entalso charged one ofTrum p's associates,W alt

  N auta,as a co-conspirator,alleging thathe had conspired w ith Trum p to concealthe presence of

  docum ents atthe Club.1d.at3.On July 27,2023,a superseding indictm entadded a second Trum p

  associate, Carlos D e Oliveira, as a co-conspirator. The superseding indictm ent also added

  additionalchargesagainstTrum p and Nauta.ECF N o.85.

         On July l5,2024,this Courtentered an O rder dism issing the superseding indictm ent on

  the grounds that Sm ith's appointm ent as Special Counsel was unconstitutional.ECF N o. 672.

  Sm ith filed a N oticeofA ppealtwo days later.ECF N o.673.Follow ing PresidentTrum p's victory

  in the 2024 presidentialelection,how ever,Sm ith m oved to dism isstheappealasto Trum p in light

  oflongstanding D OJpolicy thatûkthe U nited States Constitution forbidsthe federalindictm entand

  subsequent crim inal prosecution of a sitting President.''See M ot.to D ism iss the Appeal as to

  DonaldJ.Trump,UnitedStatesv.Trump,No.24-12311-J(11thCir.Nov.25,2024),ECFNo.79
  (incorporatingthereasoninggivenin Gov't'sMot.to Dismiss,UnitedStatesv.Trump,No.1:23-



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   cr-00257-TSC (D.D.C.Nov.25,2024),ECFNo.281).TheEleventh Circuitgranted themotion
   on N ovem ber26,2024.EC F N o.677.

          On January 7.2025,Sm ith subm itted a finalreportrelating to both ofhis investigations to

   Attorney General Garland.3 The report com prised tw o volum es, w ith V olum e I addressing the

   January 6 investigation and V olum e 11addressing the investigation relating to classified records.4

   ln a cover letter accom panying the report,Sm ith expressed his understanding thatthe A ttorney

   General w as considering releasing the repol't to the public dkconsistent w ith applicable legal

   restrictions.''s H e assured the Attorney Generalthatin each of the report's tw o volum es, he had

   ûûminimizegdl the identification of witnesses and co-conspirators, consistent with accepted
   Departm entpractice,''and he noted thathe w as providing a redacted version ofV olum e 11ttthat

   identifies certain infonnation thatrem ains under seal or is restricted from public disclosure by

   FederalRuleofCriminalProcedure 6(e).''6He also wrote:lkBecause Volume 11discussesthe
   conductofM r.Trum p'salleged co-conspiratorsin the Classified D ocum entsCase,W altine N auta

   and C arlos D e O liveira,consistent with Departm ent policy,Volum e 11 should not be publicly

  released while theircase rem ains pending.''?

                  B.     TheInjunction
          On January 6, 2025, the day before Sm ith transm itted his report to A ttonw y G eneral

   Garland,NautaandDeOliveirafiledanttEmergencyMotion''requestingthattheCourtenjointhe


  3 Letterfrom SpecialCouns. Jack Sm ith5to Att'y G en.M errick Garland,Re:FinalReportofthe
   SpecialCounselUnder28C.F.R.j600.8(Jan.7,2025),availableathttpsr//penna.cc/8sW u-
  PK L7.
  4Id at4.
      .


  51d .


  61d.




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  govenzm entfrom sharing orreleasing the report.ECF N o.679.8 The Courtgranted a tem porary

   injunctiononJanuary7,2025,prohibitingDOJ,AttomeyGeneralGarland,SpecialCounselSmith,
   and alloftheirofficers,agents,and em ployeesfrom releasing,sharing,ortransm itting the report

   outside of the D OJ.ECF N o.682.ln a letterto the Chainnen ofthe H ouse and Senate Judiciary

   Com m ittees on January 8,2025,A ttorney G eneralGarland noted thatthe Courthad tem porarily

  enjoined the governmentfrom releasing thereport,including to congressionalleaders,butthat
  G arland him selffeltcom m itted to m aking asm uch ofthe reportpublic aspossible.gHe also stated,

  how ever,thathe agreed with the SpecialCounsel's recom m endation againstm aking V olum e 11

  public so long asN auta and De O liveira'scrim inalproceedings were ongoing.lo

         ThisCourtdenied the Em ergency M otion w ith respectto Volum e Iofthe reporton January

   13,2025.ECF N o.697.O n January l5,2025,this Courtordered DOJ to Cshand deliver a copy of

  V olum e 11 to the Courtto be review ed in cam era.''ECF N o. 705.On January 21,2025, after

  reviewing Volume 11and hearing argument,the Courtgranted the injunction with respectto
  V olum e 1l,prohibiting the governm entfrom sharing ordisclosing itoutofconcern forthe fairtrial

  and due processrightsofNauta and D e O liveira.The Orderem phasized thatVolum e 11contained

  voluminousanddetailedinformation ûçprotected bytheRule 16(d)(1)ProtectiveOrderenteredin
  thiscase...(mluchof(whichlhasnotbeenmadepublicinCourtfilings.''ECFNo.714.



  8 O n January 7, 2025,President Trum p subm itted a ûlM otion for Leave to lntervene or,in the
  A ltenzative,Participate as Am icus Curiae.''ECF N o.681.The Courtdenied Trum p's requestto
  be allow ed to intervenebutgranted hisalternative requestto participate asam icuscuriae.ECF N o.
  714.
  9Letterfrom A ttorney G eneralM errick G arland to SenateJudiciary Com m ittee Chairm an Charles
  G rassley,House Judiciary Com m ittee Chairm an Jim Jordan,Ranking M em berD ick D urbin,and
  RankingMemberJamieRaskin(Jan.8,2025),availableathttps://perma.cc/XQS8-SCTY.



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                  C.     SubsequentDevelopm ents

          A fter PresidentTrum p was sworn in as the forty-seventh Presidentof the U nited States,

   D OJ m oved in the Eleventh Circuitto voluntarily dism iss the appealasto N auta and D e O liveira.

   The Eleventh Circuitgranted the m otion on February l1,2025.ECF N o.716.

                  D.     The FO IA R equest

          On January 26,2025,the Knightlnstitute subm itted a Freedom ofInfonnation Actrequest

   (ûtthe Requesf')seeking 1ûa copy ofVolume 11ofthe FinalReporton the SpecialCounsel's
   lnvestigationsand Prosecutions,referenced in SpecialCounselJack Sm ith'sJanuary 7,2025 letter

   toAttorneyGeneralMerrickB.Garland.''DeclarationofAnnaDiakunCûDiakunDecl.'')!3(filed
   herewith).A copy oftheRequestisattachedasExhibit1totheDiakun Declaration.TheKnight
   lnstitute requested expedited processing of the Requeston the grounds that itis an organization

   ûtprim arily engaged in dissem inating inform ation''and thatthere is a ûicom pelling need''forthe

   records sought because they contain information klurgentllyl''needed to kéinform the public
   concemingactualoralleged FederalGovemmentActivity,''citing5U.S.C.j552(a)(6)(E)(v)(II).
   DiakunDecl.!3.
          DO J denied the KnightInstitute's requestforexpedited processing by letterdated January

   28,2025,explaining thatkkltlhisOfticecannotidentify aparticularurgency to infonu thepublic
  aboutan actualor alleged federal governm ent activity beyond the public's rightto know about

  govemmentactivitiesgenerally.''DiakunDecl.! 4.A copyofthedenialisattachedasExhibit2
  to the Diakun D eclaration.

          O n February 6,2025,however,D OJ inform ed the K nightlnstitute that:

          V olum e 11 of the Reportshould be w ithheld in full because it is protected from
          disclosureby acourtinjunction issuedby theUnitedStatesDistrictCourtforthe
          Southern D istrictofFlorida,W estPalm Beach D ivision.In thisinstance,the O ffice
          oflnfonnation Policy (OIP)lacksauthority to considerthereleasability ofthis
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          inform ation undertheFO IA .See G TE Sylvania,Inc.v.Consum ers Union,445 U .S.
          375,384-86 (1980)(tinding ktno discretion forthe agency to exercise''where
          recordsaresubjecttoinjunctionissuedbyfederaldistrictcourt).
                  Furthennore,please be advised that the records you have requested, in
          particular,Volum e 11 ofthe Report,relate to the proceedings in USA v. W altine
          Nauta & CarlosDe Oliveira,No.23-cr-80101(S.D.F.L.filed June 8,2023)and
          USA v.Trump,etal.,No.24-12311(11th Cir.docketed July 18,2024),both of
          which are stillpending beforethose respective courtsatthistim e.As such,Volum e
          11oftheReportiscurrentlyalsobeingwithheldinfullpursuanttoExemption7(A)
          ofthe FOIA,5 U.S.C.j552(b)(7)(A).Exemption 7(A)pertains to records or
          inform ation com piled for law enforcem ent purposes,the release of w hich could
          reasonably be expected to interfere w ith enforcem entproceedings.

   DiakunDecl.!5.A copyoftheletterisattachedasExhibit3totheDiakunDeclaration.l1
   II.    The K nightInstitute H as Standing to Intervene.

          TheKnightlnstitutehasstandingtointerveneinthiscasebecausethisCourt'sinjunction
   baning the release ofVolum e 11directly im plicatesthe Institute's federalrights underFOIA .See,

   e.g., United States v.Atesiano,Case N o.18-20479-CR-M oore/Sim onton,2018 W L 5831092,at

   *2-4 (S.D.Fla.Nov.7,2018)(intervention in acriminalcase isproperwhen 1$a third party's
   constitutional or other federal rights are im plicated by the resolution of a particular m otion,

   request,orotherissueduringthecourseofacriminalcase''(cleaned up));United Statesv.Cox,
   CaseNo.8:14-cr-0140-T-23MAP,2015 W L l3741738,at*3 (M .D.Fla.Oct.7,2015)(ûûW hen
   intervention is allow ed in a crim inal action, it is lim ited to instances w here the third party's

   constitutionalrightsorotherfederalrightsare implicated during thecourse ofthe prosecution.'').
  BecauseDOJdenied theKnightInstitute'sFOIA requestonthebasisthatthisCourt'sinjunction


   11Others have tiled FO IA requestsfor Volum e 11as w ell. See,e.g.,N.lr Tim es Co.v.U S.D ep 't
  oflustice,1:25-cv-00562 (S.D.N.Y.Jan.21,2025);American Oversight's Expedited M ot.to
  lntervene and for Clarification or,Altematively,Dissolution of January 21,2025 Order g1
  PrecludginglReleaseofVolume11ofSpecialCounsel'sReport(ECFNo.717);Letterfrom Chun
  H in Jeffrey Tsoi, Senior Legal Fellow & A lex Goldstein, A ssoc. Couns., Citizens for
  Responsibility & Ethicsin W ashington,to FOIA Officers,Dep'tofJust.,Re:Expedited Freedom
  oflnformationActRequest(Jan.10,2025),https://perma.cc/2JPL-ALKY.

                                                   8
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   deprivestheagencyofûtauthoritytoconsiderthereleasabilityofthisinformation,''theinjunction
   hasthe effectofblocking the KnightInstitute from vindicating its rightsunderFO IA .Thisin turn

   com prom isesthe Institute'sability to fulfilla core partofitsm ission:to ensurethatthe public has

   accessto importantinformation aboutgovernment.Diakun Decl.!2.The Instituteaccordingly
   hasstanding to intervene in thiscase forthe purpose ofseeking rescission ofthe January 21 Order.

   1d.

          The KnightInstitute also hasstanding to intervene to assertthe public's FirstA m endm ent

   and com m on 1aw rightsofaccessto crim inalproceedingsand related docum ents.See In rePetition

   of the Trib.Co.,784 F.2d 1518,1521 (11th Cir.1986)(permitting a newspaperpublisherto
   intervene post-trialin criminalproceeding in orderto obtain transcriptsofbench conferencesl;
   UnitedStatesv.Areji533F.3d72,81(2dCir.2008)(holdingthatûtamotiontointervenetoassert
   thepublic'sFirstAmendmentrightofaccesstocriminalproceedingsisproper'').
   111. ThisCourtShould Liftthelnjunction.
          ThisCourtshould lifttheinjunctionbarringthepublicreleaseofVolume11becausethere
   isnolongeranyjustificationforit,andaccordinglyitnolongerreflectsanecessaryorappropriate
   exercise ofthe Court'ssupervisory authority.

          On January 6,2025,when DefendantsN autaand D eO liveira filed theirEm ergency M otion

   to preclude release of the Special Counsel's report,the D OJ w as appealing the dism issalof the

  cases againstthem.In theirmotion,they argued thattheir criminalûûproceedings gwouldlbe
   irreversiblyand irredeemablyprejudiced by disseminationoftheFinalReport,''ECF No.679at
  2,and itwason thisbasisthatthe Courtruled in theirfavor.ln itsruling,the Courtem phasized its

  ttaffirm ative duty'' under the Fifth Am endm ent tûto safeguard the due process rights of the

  accused,''including tstaking protective m easures to ensure a fairtrialand to m inim ize the effects



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   ofprejudicialpretrialpublicity.''ECF No.714 at8.Italso cited Defendants'Sixth Amendment
   ttrightto afairtrialby apanelofimpartial,indifferentjurors.''1d.Finally,theCourtpointed to
   Southern D istrictofFlorida LocalRule 77.2,which statesthatlawyers in a crim inalcase shallnot

   release inform ation ûûifthere is a reasonable likelihood thatsuch dissem ination w illinterfere with

   afairtrialorotherwiseprejudicethedueadministrationofjustice.''Id (quoting S.D.Fla.L.R.
   77.2).Ultimately,theCourtconcluded thatbecause içltlhe Departmenthasnotsoughtleave to
   dism issthe appeal...and therehasbeen no indication by any governm entofficialin thiscase that

   the Departm entwillnotproceed on the Superseding Indictm entshould itprevailin the Eleventh

   Circuitor in subsequentproceedings,''public dissemination ofVolume 11would tûimperilgl''
   Defendants'rightto a fairtrial.1d.at 11.

          Circum stances have now changed.A s noted above,the Eleventh Circuit dism issed the

   appealwithprejudiceonFebruary 11,2025.ECFNo.716.DefendantsNautaand DeOliveirano
   longerfacecriminalcharges.Accordingly,theinjunctionbaningreleaseofthereportisnolonger
   a necessary orappropriate exercise ofthisCourt'ssupervisory authority.See Unitedstatesv.M oss,

   No.10-60264-CR-COHN,2011W L 2669159,at*9 (S.D.Fl.Mar.21,20l1)(explaining thata
   defendantmustlkshow thathehasbeenprejudiced bytheconductofwhich hecomplainsbefore
   he would be entitled to relief'through the Court'sexercise ofitssupervisory powers)(citing
   UnitedStatesv.O '
                   Keefe,825F.2d314,318(11thCir.1987)).12




   12 To be clear, liftingtheinjunction would notnecessarilyresultinthereleaseoftheentirety of
   Volum e 11 through FO IA . If D OJ believes that som e of the reportshould be w ithheld on the
   groundsthatitisRule 6(e)material,itwillpresumably seek to withhold thatinfonnation from
   disclosurethrough FO IA 'sExem ption 3.See Sussm an v.ULS.M arshalsServ.,494 F.3d 1106,ll13
   (D.C.Cir.2007)(tsFederalRuleofCriminalProcedure 6(e)...prohibitscertain personsfrom
   ûdisclosginglamatteroccuning before (a1grandjury,'...and thatrulecountsasa statutefor
   purposesofExemption3,asithasbeenpositivelyenacted byCongress.''(citationsomittedl).

                                                    10
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          Thereisnolongeranybasisfortheinjunction imposed bytheJanuary21Order,and the
   injunction preventstheKnightlnstitutefrom pursuing itsrightsunderFOIA.The Courtshould
   rescindtheOrderandthereby lifttheinjunction.
   IV.    T he Public H as a RightofA ccess to V olum e 11 U nder the C om m on Law .

          Volume11issubjecttoapresumptiverightofaccessunderthecommonlaw.Thecommon
   law guaranteesthepublic'srightofaccesstojudicialproceedings,which includestherightto
   ûlinspectandcopy...judicialrecords,''Nixonv.WarnerCommunications,Inc.,435U.S.589,597
   (1978),becausesuchaccessisûlcrucialtoourtraditionandhistory,aswellastocontinuedpublic
   contidence in oursystem ofjustice,''Callahan v.United NetworkforOrgan Sharing,17F.4th
   1356,1358-59(11thCir.2021).ûû-f'
                                  heoperationsofthecourtsandthejudicialconductofjudges
   aremattersofutmostpublicconcern,andthecommon-law rightofaccesstojudicialproceedings,
   an essentialcomponentofoursystem ofjustice,isinstrumentalin securing theintegrity ofthe
   process.''Romerov.DrummondCo.,480F.3d 1234,1245(11thCir.2007)(cleanedup).
          A documentis a ûjudicialrecord''subjectto the common law rightofaccess ifitis
   submittedtothecourtinconnectionwithamotionthatûtinvokegslgthecourt'slpowersoraffectgsl
   itsdecisions,whetherornot(themotionis1characterizedasdispositive.''Id.at1246.A document
   need notbefiled onthecourt'sdockettobecomeajudicialrecord.t:LAIdocumentmay stillbe
   construed asajudicialrecord,absentfsling,ifa courtinterpretsorenforcesthetermsofthat
   docum ent,orrequiresthatitbe subm itted to the courtunder seal.''In re CendantCorp.,260 F.3d

   183,192(3dCir.2001);seealsoCrtp/n?n'r,Ala.Dep '
                                                 tofcorr.v.AdvanceLocalMediaLL(7,918
   F.3d 1161,1167-68(11thCir.2019)(holdingthatadocumentsubmittedtothecourtforincamera
   review butnotfiledwiththecourtwasajudicialrecord).
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          Volume 11isajudicialrecord subjectto the common law rightofaccess.Asexplained
   above,the Courtdirected the governm entto delivera copy ofV olum e 11to the Courtforin camera

   review in orderto ûtfacilitate''its consideration ofthe Em ergency M otion.ECF N o.705.The Court

   and designated counselforthe partiesdiscussed lsspecified contentsofVolum e 11''during a closed

   portion ofthe hearing,ECF N o.714 at4 n.6.13 A nd in issuing the January 21 O rder,the Court

   m ade clearthatits in camera review ofVolum e 11w as integralto deciding the m otion.ECF No.

   714 at2,5 n.8(dismissing asElstartling''theargumentthattheCourt'sreview ofVolume11was

   unnecessary).Volume 11isajudicialdocumentforpumosesofthecommon1aw rightofaccess
   becauseitwassubm itted to the Courtin connection w ith a m otion thatinvoked the Court'spowers.

   ThefactthattheCourt'sadjudicationofthemotionwasbasedonitsreview ofthedocument,and
   on its exchange w ith the parties about the docum ent,only underscores that the docum ent is a
   '
   Judicialrecord.

          ThatVolum e 11includes som e Rule 16 discovery m aterialisnotdeterm inative ofw hether

   a rightofaccessattaches.First,thereportwassubmitted to the Courtûtin connection with ga1
   pretrialmotionthatrequiredjudicialresolutiononthemerits.''Callahan,17F.4that1361-62'
                                                                                      ,id
   at 1362 (explaining thatlûthough discovery materialsdo notautomatically qualify asjudicial
   recordssubjecttothecommon-law rightofaccess,theytakeonthatstatusoncetheyarefiled in
   connection with asubstantive motion'').Second,discovery m aterialprovided by the govem ment

   toadefendantinacriminalcaseissubjecttoarightofaccessinthecircumstancespresentedhere.
       United States v. Wecht,484 F.3d 194,210 (3d Cir.2007)(tf-f'
                                                                 he process by which the



   13Thatpartofthehearingwasproperlyclosedtothepublicinordertoûûpresel'
                                                                      veDefendants'fair
   trialrights and to fully respectprotectlve orders previously entered in this case.''ECF N o.705.
   But,asexplainedabove,thereasonscited fortheclosureofthehearingandtheinjunctionagainst
   disclosureofthereportdonotjustifysuppressionofVolume11today.

                                                 12
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   governm ent investigates and prosecutes its citizens is an im portant m atter of public concern,''

   which distinguishes discovery in crim inalcases from tdtraditionalcivildiscovery betw een private

   parties.''l;Comm 'r,Ala.Dep 'tofcorn,918F.3dat1l67(explainingthatmaterialsubmittedwith
   civildiscovery m otions isexcluded from the com m on law rightofaccess,because civildiscovery

   isûtessentiallyaprivateprocessmeanttoassisttrialpreparation''(cleanedup)).
          W here the presum ptive rightofaccess attaches,itcan be overcom e only by $ta show ing of

   good cause,which requiresbalancing ...the public interestin accessing courtdocum ents against

   a party'sinterestin keeping the infonnation confidential.''Rom ero,480 F.3d at1246.The show ing

   required is substantial,because the Eleventh Circuitis lûresolute in (itslenforcementof the
   presum ption.''Callahan, l7 F.4th at 1359.ln other w ords,the Stbalance ofcom peting interests''

   musttake into accountthe éthistoric presumption ofaccess to judicialrecords.''Newman v.
   Graddick,696 F.2d 796,803 (11th Cir.1983).To assesswhethergood cause exists,S:coul'
                                                                                     ts
   consider,am ong other factors,w hether allow ing access would im pair court functions or harm

   legitimateprivacyinterests,thedegreeofandlikelihoodofinjuryifmadepublic,thereliabilityof
   the inform ation,whether there w illbe an opportunity to respond to the inform ation,whether the

   information concerns public officials orpublic concerns,and the availability ofa lessonerous

   alternative to sealing the docum ents.''Rom ero,480 F.3d at1246.Courtsalso considerw hetherthe

   records are sought for such illegitim ate pum oses as to prom ote public scandal or gain unfair

   com m ercialadvantage,whether access is likely to prom ote public understanding of historically

   significant events,and w hether the press has already been perm itted substantial access to the

   contentsofthe records.''Newm an,696 F.2d at803.

          The public'srightofaccessto Volum e 11isnotovercom e by good cause.Indeed,now that

   the chargesagainstDefendantshavebeen dismissed with prejudice,a1lofthe factorsweigh in
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   favorofrelease.First,V olum e 11concerns a public officialofthe highestrank- the current and

   fonnerpresident.Second,Volum e 11addresses a m atterofpublic concern the investigation and

   prosecution of a form erpresidentfor the alleged w illfulretention of m ilitary secrets in violation

   ofthe Espionage A ct.Third,public accessto V olum e 11would Stprom ote public understanding of

   historically significantevents,''because itcontainsa w ealth ofinform ation aboutthe investigation

   and prosecution of President Trum p that has notbeen m ade public.New man,696 F.2d at 803.

   Fourth,the K nightInstitute is notseeking public accessto V olum e 11fortlillegitim ate purposes,''

   suchasûlpromotginglpublicscandal'';itseeksthereporttofurtheritsownorganizationalmission
   and to infonu the public about m atters that are of m anifest public im portance and historical

   significance.Newman,696 F.2dat803.
                                    ,DiakunDecl.!2.14Finally,itisunlikelythattherelease
   ofVolume11willcausesigniticantinjurytoDefendants'reputationorpublicstandingbeyondthe
   injurythathasalreadyresulted from thepubliclyfiledindictment,whichaccusedDefendantsofa
   profound betrayalofpublictrustand included copiousinformation tojustify the accusation.lf
   D efendants w ish to respond to the report when it is released, President Trum p possesses a

   singularly pow erfulplatform from which to do so on his own behalfand thatofhis form er-and-

   still-currentemployees.In these circumstances,any concems aboutprivate injury are vastly
   outw eighed by the public interestin Volum e Il's disclosure.

   V.     The Public A lso H as a FirstA m endm entR ightofA ccess to V olum e II.

          The Suprem e Courthas repeatedly recognized a qualified FirstA m endm entrightofaccess

   to crim inaltrials and pretrialproceedings.Richmond N ewspapers,Inc.v. Virginia,448 U .S.555


   14 Itbearsemphasisthatthe lnstitute isseeking a version ofVolum e 11redacted to remove any
   grandjury materialprotected by Fed.R.Crim.P.6(e).The SpecialCounselcreated aredacted
   versionofVolume11to remove Rule6(e)material,and the lnstitutedoesnotopposethe Court
   m aking additionalredactionstothereportifthoseredactionsarenecessary to protectacompelling
   governm entalinterestand otherw ise consistentw ith the requirem entsofthe FirstA m endm ent.


                                                   14
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   (1980);GlobeNewspaperCo.v.SuperiorCt.forNorfolkCnfy.,457 U.S.596 (1982)(criminal
   trialsl;Press-EnterpriseCo.v.SuperiorCt.ofcal.(Press-Enterprisef),464U.S.501(1984)tury
   voirdirehearingsl;Press-EnterpriseCo.v.SuperiorCt.ofcal.(Press-Enterprise;f),478U.S.1
   (1986)(preliminary hearings).Underlyingthisrightofaccess,theCourthasexplained,isSçthe
   common understanding thatamajorpurpose ofgthe FirstlAmendmentwasto protectthefree
   discussion ofgovernm ental affairs,''so thatkûthe individualcitizen can effectively participate in

   and contribute to ourrepublican system ofself-governm ent.''Globe N ewspaper,457 U .S.at604.

          Applying these decisions and the Suprem e Court's ûtexperience and logic'' test, lower

   federal courts have recognized a qualified FirstA m endm entright of access to pretrialcrim inal

   proceedings,and to courtdocum ents subm itted in connection w ith those proceedings.See D avid

   S.Ardia,CourtTransparency and the FirstAmendment,38 Cardozo L.Rev.835,909 (2017)
   (ttlowercourtshaveheldthataFirstAmendmentrightofaccessappliestoalmostallpretrial,mid-
   trial,andpost-trialcriminalproceedings''(collecting casesll;seealsoIn reHearstNewspapers
   L.1.C.,641F.3d 168,176 (5th Cir.2011)(ûk-l'he courtsofappealshave ...recognized a First
   A m endm entrightofaccessto variousproceedingsw ithin a crim inalprosecution,''including bail,

   suppression,due process,entrapment,plea,and sentencing hearings.(collectingcasesll;United
   Statesv.Slough,677F.Supp.2d296,298(D.D.C.2010)(holdingthattheFirstAmendmentright
   ofaccessattachesûûto many pretrialhearingsin crim inalmatters...(andlextendsto documents
   and othermaterialssubmitted in connection with suchhearings''l;Bennettv.United States,No.

   12-61499-C1V,20l3 W L 3821625,at*3 (S.D.Fla.July23,2013)(ttM ostcourts,including the
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   Eleventh Circuit,have found a qualified FirstAm endmentrightofaccess to courtdocuments''

   (citingBrownv.AdvantageEng'
                             g,960F.2d 1013,1015-16(1lthCir.1992))).15
          The qualitied FirstA m endm entrightofaccess servesessentially the sam e intereststhatthe

   com m on 1aw rightofaccess selwes.First,as noted above,itfacilitates an inform ed discussion of

   govenzmentalaffairsbyprovidingthepublicwithamorecompleteunderstandingofthejudicial
   system .Globe Newspaper,457 U .S.at604-05.Second,itactsasûûan effective restrainton possible

   abuseofjudicialpower''bysubjectingtheproceedingsdttocontemporaneousreview intheforum
   ofpublic opinion.''Richmond Newspapers,448 U.S.at596 (Brennan,J.,concurring in the
   judgment).Third,itûtfostersan appearanceoffairness,therebyheighteningpublicrespectforthe
   judicialprocess,''GlobeNewspaper,457U.S.at606,becausekçpeoplenotactuallyattendinggthe
   hearingslcanhaveconfidencethatstandardsoffairnessarebeingobserved;thesureknowledge
   thatanyone is free to attend gives assurance thatestablished procedures are being follow ed and

   thatdeviationswillbecomeknown.''Press-Enterprise1,464U.S.at508(emphasisinoriginal).
          O nce the qualified accessrightattaches,a proceeding m ay be closed ora docum entsealed

   only whenkkthepartyrequesting closure...demonstrategslthatsuch action isûnecessitatedby a
   com pelling govem m entalinterest,and is narrow ly tailored to serve thatinterest.'''ECF N o.283

   at4 (quoting GlobeNewspaper,457U.S.at607).Thus,itaparty seekingto sealorredactcourt
   fslings ...carries a heavy burden.''1d.at3.ûtlfurther,in ordering thatdocum ents be sealed from

   public view ,a districtcourtm ust setforth the specific legaland factualbasis forsuch an order.''

   Id.at5'
         ,seealsoPress-Enterprise11,478U.S.at13(requiringacourttomakeûtspecific,on-the-



   15Grandjuryproceedingsaretheexception,InreSubpoenatoTest# BeforeGrandluryDirected
   to Custodian of Records,864 F.2d 1559,l561-63 (11th Cir.1989),butthatexception isnot
   relevanthere becausethe K nightlnstitute isnotseeking release ofinfonnation properly protected
   byRule6(e).

                                                  16
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   record findings''justifying closure).Thecourtmustconsiderwhetherreasonablealternativesto
   closure w ould adequately protectthe com pelling interestatissue.Press-Enterprise 11,478 U .S.at

   14.W hen courtdocum entsare atissue,one such alternative courtsm ustconsiderisredaction.See,

   e.g., Oregonian Pub.       v.US.Dist.Courtfor Dist.of Or.,Nos.91-70622 & (2V-86-961-
   MA,1991W L 321057,at*1(9thCir.Dec.5,1991).
          There is no com pelling interest in keeping the redacted version of V olum e 11 from the

   public,for reasons already explained. W hile the Suprem e Courthas recognized that the Sixth

   Amendment right to a fair trial is a compelling interest that can justify closure in some
   circum stances, Press-Enterprise 1, 464 U .S.at 510-11, Defendants no longer have any such

   interestgiventhatallcriminalchargesagainstthem havebeendismissedwith prejudice.Further,
   release ofVolum e 11w ould inform the public aboutthecharacterand actionsofthenation'shighest

   ofticial,aboutone ofthe m ostsignificantcrim inalinvestigations in A m erican history,and about

   D OJ's understanding ofthe Espionage A ct,a statute w ith broad im plications for free speech.In

   other words, public access w ould facilitate the çûfree discussion of governm ental affairs''and

   enhance the public's ability to tûparticipate in and contribute to our republican system of self-

   govenzm ent.''Globe N ewspaper,457 U .S.at604.

                                          CO N C LUSIO N

          For the foregoing reasons, the Court should grant the Knight lnstitute's M otion to

   lntervene, rescind the January 2 l O rder,and direct the clerk to file on the public docket the

   redacted version ofV olum e 11thatD OJ subm itted to the Courtin advance ofthe January 17,2025

   hearing on D efendants'Em ergency M otion.
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                                 C ER TIFICA TE O F C O N FER R AL

            Pursuantto LocalRule 7.1(a)(2),lhereby certifythatcounselforthemovanthassought
   conferralw ith al1partiesor nonpartiesw ho m ay be affected by the relief soughtin this m otion-

   including counselforthe United States,the three form er Defendants,and prospective intervenor

   A m erican O versight- in a good faith effortto resolve the issues buthas been unable to resolve

   them .

            O n February 20,2025,at 6:18 p.m .,counsel for m ovantem ailed counsel for the United

   States,counselforthe three form erDefendants,and counselfor Am erican Oversight,advising

   them ofthe natureofProspective lntervenor'smotion and the reliefsought.Counselform ovant

   requested responses by the end ofthe day on Friday,February 21,w ith any position theirclients

   took on the m otion or ifthere w as any possibility thatthe issue could itbe resolved expeditiously

   w ithoutrequiring the Knightlnstitute's intervention in the proceedings.''

            On February 21,at7:24 a.m .,counselforM r.N auta inform ed counselform ovantthatthe

   em ailaddressee listdid notincludepresentcounselforthe U nited States.O n February 21,at10:22

   a.m .,counselform ovantadded to the em ailchain presentcounselforthe United States H ayden

   O 'Byrne,the U nited States Attorney for the Southern D istrict of Florida,infonning him of the

   m otion to intervene.At 11:11 a.m .thatsam eday,counselform ovantalso added PeterForand,the

   Chiefofthe Crim inalDivision in the U .S.Attom ey'sO fGce in the Southern D istrictofFlorida,to

   the em ailchain.

            O n February 21,at 10:32 a.m .,Counselfor M r.N auta responded:ûto n behalf ofW altine

   N auta,w e oppose your application to intervene in this case and to seek other relief.W e w ill

   respond in fulland reserve allrights.W e do not agree w ith your characterization ofthe Court's

   OrderofJanuary 21,2025 and we referyou to the Court'sOrderofFebruary 18,2025,addressing




                                                   18
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   the application by A m erican O versight.Counselfor Carlos De O liveira have authorized m e to

   statethattheyjoininthisconferralstatementconcerningyourmotion.''
          Counsel for m ovant have received no response from counsel for the United States or

   counselforform erDefendantPresidentDonald Trum p.

    D ated:February 24,2025                       Respectfully subm itted,
                                                         V      .


                                                  D avid M .Buckner Esq.
                                                  Florida BarNo.: 60550
                                                  Buckner+ M iles
                                                  2020 Salzedo Street
                                                  Suite 302
                                                  CoralGables FL 33134
                                                  Phone:(305)964-8003
                                                  david@ bucknenniles.com
                                                  ScottW ilkens+rohacvicepending)
                                                  AnnaDiakun+rohacvicepending)
                                                  JameelJaffer+rohacvicepending)
                                                  K nightFirstA m endm entlnstitute
                                                   atColum bia University
                                                  475 Riverside Drive,Suite 302
                                                  N ew York,N .Y .10115
                                                  Phone:(646)745-8500
                                                  scott.wilkens@knightcolumbia.org
                                                  CounselforProspectivelntervenorKnight
                                                     FirstAm endm entInstitute atColumbia
                                                     University




                                                19
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                                 CER TIFIC AT E O F SERV ICE

          1,D avid Buckner,do hereby certify that 1have filed the foregoing M otion ofthe Knight

   FirstAm endm entInstitute atColum bia University to lntervene to Seek Rescission ofthe Court's

   January 2l,2025 O rderand Public Release ofV olum e 11ofthe SpecialCounsel's Reportby hand

   w ith the Clerk ofthe Courtforthe United StatesD istrictCourtforthe SouthenzD istrictofFlorida

   on February 24,2025.

    D ated:February 24,2025                       Respectfully subm itted,


                                                  D avid M .Buckner,Esq.
                                                  FloridaBarNo.60550
                                                  Buckner+ M iles
                                                  2020 Salzedo Street
                                                  Suite 302
                                                  CoralGablesFL 33134
                                                  (305)964-8003
                                                  CounselforProspectiveIntervenor




                                                20
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            E xhibitA
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                                 U NITED STATES DISTR ICT CO URT
                                 SO UTHERN D ISTRICT O F FLO RIDA
                                   W EST PALM BEA CH DIVISION

                                    CA SE NO .:23-CR-80101-AM C


      UN ITED STATES OF A M ERICA,

                    Plaintiff,



      DON ALD J.TRUM P,W ALTIN E N AUTA ,
      and CARLOS D E O LIVEIRA ,

                    Defendants.


                            DEC LAM TIO N O F A NNA D IAK UN
      IN SUPPO RT O F M O TIO N BY PRO SPECTIV E INTERVENO R TH E K NIG HT FIR ST
                 AM EN DM ENT IN STITUTE AT CO LUM BIA UN IVERISTY

            1,Anna Diakun,a m em berofthe Barofthe State ofNew York,declare underpenalty of

     perjuryasfollows.
                   Iam an attorney with the KnightFirstAm endmentInstitute atColum biaU niversity

     (ttl
        fnightInstitute''ortûlnstitute'').1subm itthisdeclaration in supportofthe Knightlnstitute's
     M otion to lntervene to Seek Rescission ofthe Court'sJanuary 21,2025 Orderand Public Release

     of Volum e 11 of the SpecialCounsel's Report.I m ake this declaration based on m y personal

     know ledge.

                   The Knight lnstitute is a non-partisan,not-for-profit organization that w orks to

     defend the freedom sofspeech and the pressin thedigitalagethrough strategic litigation,research,

     policy analysis,and public education.One of the Knight Institute's core priorities is ensuring

    accessto inform ation necessary for self-governm ent,allow ing the public to hold the powerfulto

    account.




                                                    l
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                   On January 26,2025,the KnightInstitutesubm itted a Freedom ofInform ation Act

    Requestto theDepartmentofJustice(11DOJ'')seeking'tacopyofVolumeTwooftheFinalReport
    on the Special Counsel's Investigations and Prosecutions,referenced in Special Counsel Jack

     Sm ith's January 7,2025 letter to Attorney G eneral M errick B.Garland.''The Knight lnstitute

    requested expedited processing on the grounds thatit is an organization tûprim arily engaged in

    dissem inating inform ation''and there is a ttcompelling need''forV olum e 11because itcontains

    information tturgentllyj''needed to iéinform the public concerning actual or alleged Federal
    Governmentactivity,''citing5U.S.C.j552(a)(6)(E)(v)(I1).A trueandcorrectcopyisattachedas
    Exhibit1.

                   By letterdated January 28,2025,DOJ acknowledged receiptof the requestand

    assigned it tracking num ber F01A -2025-02206.DOJ denied the Knight lnstitute's requestfor

    expeditedprocessing,explaining thattigtjhisOfficecannotidentify aparticularurgency to infonn
    the public aboutan actualoralleged federalgovernm entactivity beyond thepublic'srightto know

    aboutgovernm entactivitiesgenerally.''A true and correctcopy ofDO J'sletterdenying expedited

    processing isattached as Exhibit2.

                   On February 6,2025,DOJ responded to the KnightInstitute's request.ln relevant

    part,DOJ stated that:

                Volum e 11ofthe Reportshould be w ithheld in fullbecause itisprotected from
                disclosureby a courtinjunction issued by theUnited StatesDistrictCoul'tfor
                the Southern D istrictofFlorida,W estPalm Beach Division.ln this instance,
                the Oflice of Information Policy (O1P) lacks authority to consider the
                releasability of this inform ation under the FO IA .See GTE Sylvania,Inc. v.
                ConsumersUnion,445U.S.375,384-86(1980)(findingçtnodiscretionforthe
                agency toexercise''whererecordsaresubjectto injunction issued byfederal
                districtcourt).
                    Furtherm ore,please be advised that the records you have requested,in
                particular,Volume 11oftheReport,relate to the proceedingsin USA v.Waltine
                Nauta(fCarlosDeOliveira,No.23-cr-80101(S.D.F.L.tiledJune8,2023)and
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                 USA v.Trump,etal.,No.24-1231l(1lthCir.docketedJulyl8,2024),bothof
                 which are stillpending before those respective courts at this tim e.A s such,
                 Volum e 11 ofthe Reportis currently also being w ithheld in fullpursuant to
                 Exemption 7(A)oftheFOIA,5U.S.C.j552(b)(7)(A).Exemption7(A)pertains
                 to records or inform ation compiled for law enforcem entpurposes,the release
                 of which could reasonably be expected to interfere with enforcem ent
                 proceedings.

     A true and correctcopy ofDOJ'sresponsedenying the KnightInstitute'sFO IA requestis

     attached asExhibit3.

            6.      Pursuantto28U.S.C.j1746,1declareunderpenaltyofperjurythattheforegoing
     istrue and correct.

     Executed on February 22,2025.


                                                        Respectfully subm itted,

                                                         /s/Anna Diakun
                                                        AnnaDiakun+rohacvicepending)
                                                        KnightFirstA m endm entlnstitute at
                                                         Colum bia University
                                                        475 Riverside Drive,Suite 302
                                                        New Y ork,N .Y.10l15
                                                        (646)745-8500
                                                        anna.diakun@knightcolumbia.org
                                                        CounselforProspectiveIntervenorKnight
                                                         FirstAmendm entInstitute atColumbia
                                                         Universit.y




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              E xhibit l
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             KNIGHT                                                             475 RiversideDrive,Suite3O2
             FIRSIAMEdBNENT                                                     New York.NY10115
             IdSTITBTE at                                                       (646)745-8500
             COLIJMBIA UNI
                         VERSI
                             TY                                                 infce knightcolumbia.org




                                                 January 26,2025

             FOIA/PA M ailReferralUnit
             Justice M anagem entDivision
             Departm entofJustice
             950 Pennsylvania Avenue N W
             W ashington,DC 20530-0001
             MlE
               ttll?olxdk.Requests@usdoj.gov
             Office ofthe Attorney General
             c/o D ouglas Hibbard
             Chief,InitialRequestStaff
             Office ofInform ation Policy
             Departm entofJustice
             6th Floor
             441 G St NW
             W ashington,DC 20530

                    R e: Freedom ofInform ation A ctR equest
                         Expedited Processing R equested
             To whom itm ay concern,
               The Knight First Am endm ent Institute at Colum bia U niversity
             (dslfnight Institute'' or t'Institute'll submits this request under the
             Freedom oflnform ation Act ((dFO1A''),5 U.S.C.j 552,for a copy of
             Volum e Tw o of the January 7, 2025 Final R eport on the Special
             Counsel's lnvestigations and Prosecutions, which concerns the
             classified docum entscase broughtagainstPresidentTrum p and tw o of
             hisassociates,W altNauta and Carlos De Oliveira.




                l The K night First Am endm ent lnstitute is a N ew York not-for-profit
             corporation based atColumbia University thatworksto preserveand expand
             thefreedom sofspeech andthepressthrough strategiclitigation,research,and
             publiceducation.
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                                          1. Background
                On June 8, 2023, President Trum p was indicted on thirty-seven
             felony charges,including thirty-one alleged violationsofthe Espionage
             Act,18 U.S.C.j 793(0 .2The charges stemmed from Trum p's alleged
             willfulretention ofclassified docum entsatM ar-a-luago long afterheleft
             office on January 20,2021,despite repeated requests by the National
             Archivesand RecordsAdm inistration fortheirreturn.3Prosecutorsalso
             charged one ofTrum p's associates,W alt N auta,as a co-conspirator.4
             They later added a second Trum p associate,Carlos De Oliveira,along
             with additionalcharges,in a superseding indictm ent.s
                This unprecedented case was brought by Departm ent of Justice
             ($dDOJ''
                    )SpecialCounselJack Smith.Though the FBIfirstopened its
             investigation on M arch 30,2022,6Attorney GeneralM errick B.Garland
             appointed Sm ith to lead the investigation- along with another
             investigation related to election interference--on Novem ber 18,2022,
             soon afterTrum p announced thathe would be running for reelection.7
             AccordingtotheAttorneyGeneral,Smith'sappointm enttdunderscoreldl
             theDepartm ent'scom m itm entto both independence and accountability
             in particularly sensitive matters''and would tdallowl!prosecutors and
             agents ...to m ake decisionsindisputably guided only by the facts and
             the 1aw .''8
                DOJ regulations require those appointed as SpecialCounsel,once
             their w ork is com plete,to provide a report to the Attorney General
             explaining the ultim ate decision to prosecute or not to prosecute.28
             C.F.R.j 600.8(c).Smith submitted his 5nalreportrelating to both of
                2MichaelR.Sisak,JillColvin& LindsayW hitehurst,A TimelineofEvents
             Leading to Donald Trump's Indictment in the Classified Documents Case,
             Associated Press,https://apnew s.com /article/trum p-docum ents-investigation-
             time1ine-087f0c9a8368bb983a16b67dd31dcd4c(June 10,2023);lndictmentat
             28-41,U.S.v.Trump,736 F.Supp.3d 1206 (S.D.Fl.2024)(No.23-80101-
             AMC),ECF No.3.
                31d.
               4Alan Feuer,M aggieHaberman & Glenn Thrush,Trump FacesM ajorNew
             Charges in Documents Ccsc, N.Y. Tim es (Ju1y 27, 2023),
             https://ww w .nytim es.com /zoz3/o7/z7/us/politics/trum p-docum ents-carlos-de-
             oliveira-charged.htm l.
                 5Superseding Indictment,U.S.L;.Trump,736 F.Supp.3d 1206 (S.D.F1.
             2024)(No.23-80101-AM C),ECF No.85.
                 6Sisaketa1.,A TimelineofEventsLeading toDonald Trump'
                                                                     sIndictment
             in theClassified DocumentsCase,supran.2.
                7Press Release,Off.ofPub.A ffs.,U .S.Dep't ofJust.,Appointm ent of a
             SpecialCounsel(Nov.18,2022),https://www.justice.gov/opa/pr/appointment-
             special-counsel-o.
                81d.
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             hisinvestigationsto the Attorney Generalon January 7,2025.9Though
             DOJ haspublicly released Volum e One ofthe report,aboutthe election
             interferencecase againstTrum p,ithas notreleased Volum e Two,about
             the classified docum ents case.In a January 8 letter to the House and
             Senate Judiciary Com m ittees,Attorney General Garland explained
             that he had determ ined that Volum e Two should not be m ade public
             w hilethe crim inalcases against Nauta and Oliveira were pending,but
             thatitwould fdbe in the public interest''to publish thatvolum e once the
             crim inalproceedings concluded.lo
                The inform ation contained within Volum e Two is of profound
             im portance to the public. The public has a com pelling interest in
             knowing the full results of the Special Counsel's investigation,
             including the factualfindings and legaland policy considerationsthat
             led the SpecialCounselto charge President Trum p,who has recently
             reassum ed office. The report m ay also shed light on DOJ's
             interpretation of the Espionage Act,a statute that has shaped public
             discourse aboutnationalsecurity form ore than a century.llThe Knight
             Institute seeks Volum e Two ofthe report to inform the public about
             these criticalissues.
                                     II. Record requested
                The Knight Institute requests a copy ofVolum e Two of the Final
             Report on the Special Counsel's Investigations and Prosecutions,
             referenced in Special CounselJack Sm ith's January 7,2025 letter to
             Attorney GeneralM errick B.Garland.lz
                W e ask thatyou disclose a1lsegregable portionsofthe record sought.
             See 5 U .S.C.j 55209.W e also ask thatyou provide the record in its
             native l'
                     ile format.Scc 5 U.S.C.j552(a)(3)(B).Alternatively,please
             provide the record electronically in a text-searchable, static-im age
             format(e.g.,PDF),in thebestimagequality in theagency'spossession.



                9Letter from Jack Sm ith,Special Counsel,U .S.Dep't ofJust.,to M errick
             B. Garland, Attorney General, U .S. Dep't of Justice (Jan. 7, 2025),
             https://www.justice.gov/storagemeport-of-special-counsel-smith-volume-l-
             January-2025.pdf.
                10Letterfrom M errick B.Garland,Attorney General,U.S.Dep'tofJust.,to
             Sen.CharlesGrassley,Chairman,Committee on the Judiciary,eta1.(Jan.8,
             2025),https://www.justice.gov/sco-smith/mediil38364l/dl.
                1lScc,e.g.,Jam eelJaffer,TheEspionageA clH asB een Abused- ButN otin
             Trump'
                  s          Case,         Politico       (Aug.         17,         2022),
             httpsr//ww w.politico.com /news/m agazine/zozz/o8/l7/the-espionage-act-has-a-
             dark-history-prosecuting-trum p-would-be-legit-ooosz376.
                12Letterfrom Jack Sm ith to M errick B.Garland,supra n.8.
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                       111. A pplication for expedited processing
               The Knight Institute requests expedited processing pursuant to 5
             U.S.C.j552(a)(6)(E).There is a tkom pelling need''for the document
             soughtbecausetheinform ation itcontainsisHurgentglyl''needed by an
             organization prim arily engaged in dissem inating inform ation tdto
             inform the public concerning actual or alleged Federal Governm ent
             activity.''5U.S.C.j552(a)(6)(E)(v)(Il).
                       A. The KnightInstitute isprim arily engaged in
                         dissem inating information in orderto inform the
                        public aboutactualoralleged governmentactivity.
               The Knight lnstitute is 'tprim arily engaged in dissem inating
             information''within themeaningofFOIA.5U .S.C.j552(a)(6)(E)(v)(1I).
                 The KnightFirstAm endm entInstitutewasestablished atColum bia
             U niversity to defend and strengthen the freedom s of speech and the
             press in the digitalage.Research and public education are essentialto
             the Institute's m ission.l3 Obtaining inform ation about governm ent
             activity,analyzing thatinform ation,and publishing and dissem inating
             it to the press and public are am ong the core activities the lnstitute
             performs.SeeACLU v.DOJ,321 F.Supp.2d 24,29 n.5 (D.D.C.2004)
             (finding non-profit publicinterestgroup thatEigathers information of
             potentialinterestto a segm entofthe public,uses its editorialskills to
             turn the raw m aterialinto a distinctw ork,and distributesthatwork to
             an audience''to be ttprim arily engaged in dissem inating inform ation''
             (citation omittedl).
                    B. Therecord soughtisurgently needed to inform the
                        publicaboutactualoralleged governm entactivity.
               The docum ent soughtis urgently needed to inform the public about
             actualorallegedgovernmentactivity.See5U.S.C.j552(a)(6)(E)(v)(II).
             Specifically,the requested record providesa detailed explanation ofthe
             Special Counsel's investigation ofTrum p's alleged unlawfulretention
             of classified docum ents. It also discusses DOJ's interpretation of
             relevant law, including the Espionage Act, and the legal and policy
             considerations thatled the SpecialProsecutorto bring these charges.l4

                13 M ike M cphate, Colum bia University to Open a First A m endm ent
             Institute,N.Y.Tim es (M ay 17,2016),https://perma.ccW cgM -luuAD;Jam es
             Rosen, N ew Institute Aspires to Protect First Am endm ent in D igital Era,
             McclatchyDC (May20,2016),https://perma.cc/ZS2K-FPED.
               14 Scc generally SpecialCounselJack Smith,Volum e One:The Election
             Case,FinalReport on the SpecialCounsel's Investigations and Prosecutions
             (Jan. 7, 2025), https://www.justice.gov/storage/Report-of-special-counsel-
             Smith-volume-l-lanuary-zozs.pdf (supplying analogous information about
             SpecialCounsel'sinvestigation into election interference).
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                 DisclosureofVolum eTwo ofthereportisurgently needed to help the
             public m ore fully understand the SpecialCounsel's decision to charge
             Trum p with violations of the Espionage Act.15 Volum e Two will also
             illum inate DOJ's understanding of the scope and application of the
             Espionage Act, which has been used in recent years to prosecute
             governm ent em ployees who disclose national security inform ation to
             m embers ofthe press.Understanding DOJ's interpretation ofthis law
             is especially urgent now , given widespread fear that the Trum p
             adm inistration willuse the Espionage Act with even greater frequency
             against government leakers,and perhaps even against journalists
             them selves.l6

                The public interestwould be served by the disclosure ofVolum e Two
             ofthe report,as Attorney GeneralG arland observed in his January 8
             letter to the House and Senate Judiciary Com m ittees.
                For these reasons, the Knight Institute is entitled to expedited
             processing.
                     lV. A pplication for w aiver or lim itation offees
                The KnightInstitute requests a waiver ofdocum entsearch,review ,
             and duplication fees on the grounds that disclosure of the requested
             record $iis in the public interest because it is likely to contribute
             significantly to the public understanding ofthe operationsoractivities
             ofthe governm entand isnotprim arily in the com m ercialinterestofthe
             requester.''5U.S.C.j552(a)(4)(A)(iii).
                For the reasons explained above,disclosure ofthe record would be in
             the public interest.M oreover,disclosure would notfurther the Knight
             Institute's com m ercial interest. The Institute will m ake any
             inform ation disclosed available to the public at no cost. Thus,a fee
             waiver would further Congress's legislative intent in am ending FOIA
             to ensure ttthat it (isl liberally construed in favor of waivers for
             noncom m ercialrequesters.''Scc Judicial W atch, Inc. t?.Rossotti,326
             F.3d 1309,1312 (D.C.Cir.2003).
               TheKnightInstitutealsorequestsa waiverofsearch and review fees
             on the grounds that it qualifies as an dteducational ... institution''
             whose purposes include (dscholarly ...research''and the record is not

                15Julian E.Barnes,Wr
                                   /zcfIstheEspionageActand H ow H asItBeen Used?,
             N.Y.             Times               (Aug.              15,             2022),
             https://www .nytim es.com /zozz/o8/ls/us/politics/espionage-act-explainer-
             trum p.htm l.
                16 Scp, e.g.,Gabe Rottman,How Press Freedoms Could Fare Under the
             Second Trump Adm inistration, L.        A . Times (Dec. 26, 2024),
             httpsr//www.latimes.com/opinion/story/zoz4-lz-z6/journalist-leak-
             investigations-donald-trum p.
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             soughtforcom mercialuse.5U.S.C.j552(a)(4)(A)(ii)(I1).TheInstitute
             has a substantial educational m ission. Situated w ithin a prom inent
             academ icresearch university,the Institute perform s scholarly research
             on the application of the First Am endm ent in the digital era. The
             Institute's research program brings together academ ics and
             practitioners of different disciplines to study contem porary First
             Am endm ent issues and offer inform ed,non-partisan com m entary and
             solutions.It publishes that com m entary in m any form s,including in
             scholarly publications and in short-form essays.
                Finally,the K night Institute also requests a w aiver ofsearch and
             review fees on the grounds thatit is a G<representativeq ofthe news
             m edia''within the m eaning ofFOIA and the record is not sought for
             commercialuse.5U.S.C.j552(a)(4)(A)(ii)(II).
                The Institute m eets the statutory deûnition of ($a representative of
             the news m edia''because it is an Cdentity that gathers inform ation of
             potentialinterest to a segm entofthe public,uses its editorialskills to
             turn the raw m aterials into a distinct work,and distributes thatwork
             to an audience.''5U.S.C.j552(a)(4)(A)(ii)'
                                                      ,sccclsoNat'lSec.Archivet?.
             DOD,880F.2d 1381,1387(D.C.Cir.1989)(findingthatanorganization
             thatgathers inform ation,exercises editorialdiscretion in selecting and
             organizing docum ents, ttdevises indices and finding aids,'' and
             dûdistributes the resulting w ork to the public''isa tt
                                                                   representative ofthe
             news media''for purposesofthe FOlA).Courtshavefound othernon-
             prof'itorganizations,whose m ission ofresearch and public education is
             sim ilar to that of the Knight Institute,to be ffrepresentatives of the
             news m edia.''Scc,c.g.,Serv.W om en'  s Action N etwork v.D OD ,888 F.
             Supp.2d 282,287-88 (D.Conn.2012)ClolrganizationsliketheACLU
             are regazlarly granted news representative status.'l;Judicial Watch,
             Inc.&.DOJ,133 F.Supp.2d 52,53-54 (D.D.C.2000)(findingJudicial
             W atch,self-described as a tt
                                         public interest 1aw l'
                                                              irm ,''a news m edia
             requester).
                For these reasons,the KnightInstitute is entitled to a fee waiver.
                                         *


                Thank you for your attention to this request.1 would be happy to
             discuss its term s w ith you over the phone or via em ailto clarify any
             aspectofit.

                1 declare under penalty ofperjury that the foregoing is true and
             correctto the bestofmy knowledge and belief.
                                                  /s/Anna D iakun
                                                 KnightFirstAm endm entInstitute
                                                   at Colum bia U niversity
                                                 475 Riverside Drive,Suite 302
                                                 New York,N Y 10115
                                                 6
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                                         (646)745-8500
                                         anna.diakun@knightcolum bia.org




                                        7
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              E xhib it 2
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                 @                                                U.S.Departm entofJustice
         *                                                        Office oflnform ation Policy
             1       :r
             N. - o./                                             Sixth F/t
                                                                          por
                                                                  44l G Street,NW
                                                                  Washington,D(720530-0001

        Telephone:(202)514-3642
                                                                  January 28,2025


        Anna Diakun
        KnightFirstAm endm entlnstitute atColumbia U niversity
        475 Riverside Drive
        Suite 302
        N ew York,N Y 10115                                    F01A -2025-02206
        anna.diakunoeu i/htcolumbia.or:                           DRH:ERH:GM G
        D earAnna Diakun:

                  Thisisto acknowledgereceiptofyourFreedom oflnformationAct(FO1A)request
        dated January 26,2025,and received in thisO ffice on January 27,2025,in which you
        requested acopy ofVolum e11ofthe ReportofSpecialCounselJack Sm ith.

                  Y ou haverequested expedited processing ofyourrequestpursuantto the Departm ent's
        standard permitting expeditionforrequestsinvolving ttgaln urgencytoinform thepublicabout
        an actualoralleged federalgovernm entactivity,ifm ade by a person prim arily engaged in
        disseminatinginformation.''See28C.F.R.j16.5(e)(1)(ii)(2018).Basedontheinfonnation
        you have provided,Ihave detennined thatyourrequestforexpedited processing underthis
        standard should be denied. ThisOffice cannotidentify a particularurgency to inform the
        public aboutan actualoralleged federalgovernmentactivity beyond thepublic'srightto know
        aboutgovernm entactivitiesgenerally. Pleasebeadvised that,although yourrequestfor
        expedited processing hasbeen denied,ithasbeen assigned to an analystin thisOffice and our
        processing ofithasbeen initiated.

              To the extentthatyourrequestrequiresa search in anotherOffice,consultationswith
        otherDepartmentcomponentsoranotheragency,and/orinvolves a volum inousam ountof
        material,yourrequestfallswithinççunusualcircumstances.'' See5U.S.C.j552 (a)(6)(B)(i)-
        (iii)(2018).Accordingly,wewillneed to extend thetimelimitto respond toyourrequest
        beyond theten additionaldaysprovided by the statute. Foryourinform ation,we usem ultiple
        tracksto processrequests,butwithin those tracks we work in an agile m anner,and the tim e
        needed to com plete ourwork on yourrequestwillnecessarily depend on a variety offactors,
        including the complexity ofourrecordssearch,thevolum eand com plexity ofany m aterial
        located,and the orderofreceiptofyourrequest. Atthistim e w ehave assigned yourrequestto
        the com plex track. ln an effortto speed up ourprocess,you m ay w ish to narrow the scope of
        yourrequestto lim itthenum berofpotentially responsive records so thatitcan be placed in a
        differentprocessing track. You can also agreeto an altem ativetim e fram e forprocessing,
        should recordsbe located,oryou m ay wish to awaitthe com pletion ofourrecords search to
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        discusseitherofthese options. Any decision w ith regard to the application offees willbe
        m ade only afterw edetennine whetherfeesw illbe implicated forthisrequest.

                lfyou have any questions,wish to discussreform ulation oran alternative tim e fram e
        forthe processing ofyourrequest,orifyou require furtherassistance regarding any aspectof
        yourrequest,you m ay contactourFOIA Public Liaison,Valeree Villanueva,at:Office of
        lnform ation Policy,United StatesDepartm entofJustice,Sixth Floor,441G Street,NW ,
        W ashington,DC 20530-0001;telephone at202-514-3642.

               Additionally,you may contacttheOfficeofGovernmentInformation Services(OGlS)
        atthe NationalArchivesand RecordsA dm inistration to inquire aboutthe FO IA m ediation
        servicesthey offer. Thecontactinfonnation forOGIS isasfollows: O ffice ofG overnm ent
        Infonnation Services,N ationalArchives and RecordsA dm inistration,Room 2510,8601
        AdelphiRoad,CollegePark,M D 20740-6001,
                                              .e-mailatogisA nara.cov;telephoneat202-741-
        5770,
            .tollfree at 1-877-684-6448.
                                       ,orfacsim ile at202-741-5769.

                Ifyou are notsatisfied with thisO ffice'sdeterm ination in response to thisrequest,you
        m ay adm inistratively appealby writing to the Director,Office ofInform ation Policy,U nited
        States Departm entofJustice,Sixth Floor,441G Street,N W ,W ashington,DC 20530-0001,or
        you m ay subm itan appealtllrough OlP'sFOIA STAR portalby creating an accountfollow ing
        the instructionson OlP'swebsite:https:/  '/
                                                  'ww w.l
                                                        'ustice.cov.
                                                                   'oip/
                                                                       /subm it-and-track-reguest-or-
        appeal. Yourappealmustbe postm arked orelectronically subm itted within ninety daysofthe
        dateofm y response to yourrequest. lfyou subm ityourappealby m ail,both the letterand the
        envelope should be clearly m arked t%Freedom oflnform ation ActAppeal.'' lfpossible,please
        provide a copy ofyouroriginalrequestand thisresponseletterwith yourappeal.

                                                                   Sincerely,



                                                                   DouglasR.H ibbard
                                                                   Chief,lnitialRequestStaff
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              E xhibit 3
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                                                                 U.S.Departm entofJustice
                                                                 O ffice oflnformation Policy
         !           !                                           Sàth Floor
         jNzw,...rfe/t
         '
                                                                 441G Street,N W
                                                                 Washington,DC 20530-0001

       Telephone:(202)514-3642

                                                                  February 6,2025

       A nna Diakun
       KnightFirstAm endm entInstitute atColum bia University
       Suite 302
       475 Riverside Drive
       New Yor,N Y l0l15                                  Re: F0 1A -2025-02206
       anna.diakuno u ightcolumbia.org                            DRH
       DearAnna Diakun:

                  ThisrespondstoyourFreedom ofInfonuationAct(FOlA)requestdatedJanuary26,
       2025,and received in thisOffice on January 27,2025,seeking a copy ofVolum e11ofthe
       ReportofSpecialCounselJack Smith (theReport).
                  Atthistim e,1have determ ined thatVolum e 11ofthe Reportshould be withheld in full
       becauseitisprotectedfrom disclosurebyacourtinjunctionissuedbytheUnitedStates
       DistrictCourtforthe Southern DistrictofFlorida,W estPalm Beach Division. ln thisinstance,
       theOfficeoflnformation Policy(OlP)lacksauthorityto considerthereleasability ofthis
       information underthe FOIA . See GTE Svlvania.lnc.v.Consum ersUnion,445 U .S.375,384-
       86(1980)(findingççnodiscretionfortheagencytoexercise''whererecordsaresubjectto
       injunctionissuedby federaldistrictcourt).
               Furtherm ore,pleasebe advised thattherecordsyou have requested,in particular,
       V olum e 11ofthe Report,relate to theproceedings in U SA v.W altine N auta& CarlosDe
        Oliveira,No.23-cr-80l0l(S.D.F.L.filedJune8,2023)andUSA v.Trump,etal.,No.24-
        12311(11th Cir.docketed July 18,2024),bothofwhich arestillpendingbeforethose
       respective courtsatthistime. A ssuch,Volum e 11ofthe Reportiscurrently also being
       withheldinfullpursuanttoExemption7(A)oftheFOIA,5U.S.C.j552(b)(7)(A).Exemption
       7(A)pertainstorecordsorinformationcompiled forlaw enforcementpurposes,thereleaseof
        which could reasonably be expected to interferew ith enforcem cntproceedings.

                ln making the abovedeterm inations,we have considered the foreseeable harm
        standard.

                  Foryourinform ation,Congressexcluded three discrete categoriesof1aw enforcem ent
        and nationalsecurityrecordsfrom therequirementsoftheFOIA.See 5U.S.C.j552(c)
        (2018).Thisresponseislimitedtothoserecordsthataresubjecttotherequirementsofthe
        FO IA . Thisis a standard notification thatisgiven to a1lourrequestersand should notbe taken
        asan indication thatexcluded records do,ordo not,exist.
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                You m ay contactourFO IA Public Liaison,ValereeV illanueva,forany further
       assistance and to discussany aspectofyourrequestat:Office oflnform ation Policy,United
       States Departm entofJustice,Sixth Floor,441G Street,NW ,W ashington,DC 20530-000 1;
       telephoneat202-514-3642.

                Additionally,youmaycontacttheOfficeofGovernmentInformation Services(OGlS)
       attheN ationalArchivesand RecordsA dm inistration to inquire aboutthe FO IA m ediation
       servicesthey offer. Thecontactinfonuation forOGIS isasfollow s: O ffice ofG overnm ent
       Inform ation Services,NationalArchivesand RecordsAdm inistration,Room 2510,8601
        AdelphiRoad,CollegePark,MD 20740-6001;e-mailatogis@nara.gov;telephoneat202-741-
        5770,
            .tollfree at1-877-684-6448.

                lfyou are notsatisfied w ith thisOffice'sdetennination in responseto thisrequest,you
        m ay adm inistratively appealby writing to the Director,Office oflnfonnation Policy,United
        StatesDepartm entofJustice,Sixth Floor,441 G Street,NW ,W ashington,D C 20530-000l,or
        you m ay subm itan appealthrough OIP'sFO IA STAR portalby creating an accountfollow ing
        theinstructionson OIP'swebsite:htms:,//www.l
                                                   'ustice.xovr
                                                              /'
                                                               oip.
                                                                  /submit-and-track-request-or-
        appeal. Yourappealm ustbepostm arked orelectronically subm itted w ithin ninety days ofthe
        date ofm y response to yourrequest. Ifyou subm ityourappealby m ail,both the letterand the
        envelope should be clearly m arked ttFreedom ofInform ation ActAppeal.'' Ifpossible,please
        provide a copy ofyouroriginalrequestand thisresponse letterw ith yourappeal.

                                                                 Sincerely,


                                                                 DouglasH ibbard
                                                                 Chief,lnitialRequestStaff
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                                  UNITED STA TES DISTRICT CO URT
                                  SO UTH ER N DISTR ICT O F FLO RIDA
                                    W EST PA LM BEAC H D IVISIO N

                                  CASE NO.23-80101-CR-CANNON(s)


     UNITED STA TES O F AM ER ICA,
                     Plaintiff,



     DO NALD J.TRUM P,W ALTINE N AUTA,
     and CAR LO S DE O LIV EIM ,

                     Defendants.



                                         IPRO PO SEDIOR DER

             Upon consideration of prospective intervenor Knight First Am endment lnstitute at

    Colum bia University's M otion to Intervene to Seek Rescission ofthe Court'sJanuary 21,2025

    Order and Public Release of Volum e 11of the Special Counsel's Reporq itis this          day of

                52025,hereby:

             O RD ER ED thatthe M otion to lntervene isG RAN TED ,and itisfurther

             ORD ER ED thatthisCourt'sJanualy 2l,2025 Orderis rescinded,and

             The Clerk is directed to file on the public docketthe redacted version ofVolum e 11 that

     Plaintiffsubm itted to the Courtin advance ofthe Court'sJanuary 17,2025 hearing.

             DO NE AN D O RDERED in Cham bersatFortPierce,Florida,this             day of          ,

     2025.



                                                                  The Honorable Aileen M .Cannon
                                                                  United StatesDistrictCourtJudge
